Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 1 of 18




                         EXHIBIT E
            Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 2 of 18

                                            =~F~TC~
                                            ERIC r0U1~;7Y ~L~F:I!.
                                            ~ ?f1j~;flFllti?;~

           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF ERIE
                                                                        ~~~`~     DEC 2 3 2019
           fN THE MATTER OF THE APPLICATION OF'
                                                        ~~ ~..~,,~n N1. I~S•ajacsc
                                                          ~     iov~n Cier'r,
           M[CHAEL ARGENTIERI, PRO SE DBA "MICKEY DOGS" ~   `~~~~,~ ~f ~v~i~s


           -agains~-                                                      NOTICE OF
                                                                          PETIT{ON
                                                                          Index No. IJG~C; I.~~~,~c~l

           MARY HOSLER, SUPERVISQR OF THE TOWN OF EVANS,
           For a Judgment pursuant to Arkicie 78
           of the Civil Practice Law & Rufes

               To: Mary Hosier ,Supervisor of the Town of Evans
                     PLEASE TAKE NOTICE upon the annexed petitio of Michael
               Argentieri "DBA Mickey Dogs", sworn to on fhe -            day of     ,,~
               ~~~~ ~~:~-~~;2019, petitioner wi{l apply to this court on the        day of
~jo~V~u~.;rc~~                   , ar as soon thereafter as counseE may be heard, for a
    a'~~~'~ judgmen₹ granting the relief requested in the annexed Petition.
                     PLEASE TAKE FURTHER NOTICE that you must serve a verified
               answer, any supporting affidavits and documents, and a certified transcript
               of the record of the poceeding at least five (5~ days before this applicafiion
               is made.
                     Petifiioner designates Erie County as ~khe place of trial. The basis of
               the venue is that the Town of Evans and the petitioners busir~ess are both
               located in Erie County.


              ~.,~~~



            Michael Argen~ieri, pro se,~~~ ~, 019



  _i                               ~~~~~~~~
                                    ~
 Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 3 of 18



                                                                         ~'           lJ




SUPREME CdURT STATE OF NEW YORK                                  ~ ~     ~
                                                                             ~~~~.



CQUNTY OF ERiE
                                                                  i~CC 2 5 2019
MICHAEL ARGENTIERI, pro se DBA MICKEY DOGS                       y~r4 ~Vi. Krajacic
Pe₹itioner,                                                        'iobtim Clerl;
                                                                 i~v~m ~f ~var~s
-against-                                                      VERf FlCATI~N



MARY HOSLER, SUPERVISOR TOWN OF EVANS,
Respondent,

For a Judgment pursuant to Ar~ic(e 78
of the Civil Practice Law and Rules

VERIFlCATiUN (~F PETITI(JN
STATE QF NEW YORK )
COUNTY OF ERfE SS.:)

Louis Catalano, deposes and says, that deponent is the owner a~f the
building leased by the pefiitioner in ₹he above captioned proceeding, that
have read the foregoing petition and know the contents thereo₹, that the
same is true to deponenfi's ovsrn knovv~ec~ge, except as to matters therein
stated upon information and belief, which matters deponent believes to be
true. Furthermore your deponent has no direct business involvement with
"Mickey Dogs" other than being the lessor.


                                         Sworn to before me phis
               ~~~~                      day of ~~~~~~~~"" 2019
  Dais Ca ai    ~~  `

                                         Nota   Public
                                                   MELISSA     DA~[~E~-~-
                                                       Pu~b~~~~~~~2zgiNe`~~York
                                                      Natary
                                                          Qualifies in Eris Co r.~y
                                                                  ~npyroc ~~ .a ,2~ ~
                                                   Nly GQmmlesfan
  Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 4 of 18

                              ~`i7 i ~J




                              T ?I}i g~i iiii ^G

Supreme Coutt of fihe Stafie of New York
Coun~hy of Erie
                                                                ~cC "1 5 30iS
!n the matter of the Application of                          xa~,_.~
                                                                 ~ ~, ~. 4~~~j~r~c
MICHAEL ARGENT(ERI, pro se DBA Mickey Dogs                      'E C~Mt'C~ G1~i'tt
                                                   PET1TlON ~'~':~'' °i ~~'~~'~
                                                   INDEX No.r~.~aa ~j~

-againsfi-


Mary Hosler, Supervisor of the Town of Evans,

For a Judgment pursuant to Article 78
of fihe Civil Practice Law and Rules

TO The Supreme Court of the State ofi New York
for Erie County

     The petition of Michael Argen#ieri, complaining of the Respondent
Town of Evans, respectfully alleges:

1. Petitioners Michael Argentieri, pro se is the owner/operator of Mickey
   Dogs Doggie Day Gare &More (Louis Catalano, properly owner/lessor,
   suppor₹s all statements, facts ,assertions, etc., made by Michael
   Argentieri (see ATT.~1), located at 6777 Erie rd.,Derby,NY,14047,SBL #
   192.2-6-1.1, under the jurisdiction of the Town of Evans.

2. Respondent Mary Hosier Town o~ Evans Supervisor. As Town
   Supervisor Mary Hos(er is charged with the overall supervision and
   administration of the Town ,of Evans.
  Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 5 of 18




FACTS

3. Petitioners challenges "Local Law #7 of the year 2019 (hereinafter the
    Code) (Ex. A)
4. A brief synapsis of the events leading up to the Cade are as follows. 1n
    Dec of 201$, l spoke with Mary Holler and the then Dir of Planning
    (Roberta) regard€ng opening a day care for dogs in my currenfi location.
    1 left that meeting wifih Raberfia felting me that I would be abbe to open
    probably by Feb 2~~ 9'. Come Jan 2nd.2019' ,Roberta was no longer
    working for the Town of Evans.
5. Qn Dec.27th. 219' I paid tl~e town's $5Q0, filing fee and applied far
    rezoning to have my current location rezoned from Motor Sales to
    General Business. Upon my review fior rezanirtg on or about Feb.l3th.,
    by the zoning board ,l was to[d for the first time, ghat fihere was no
    Cade for dog day care. Apparently when the Town of Evans ₹ook my
    ₹fling Fee they were not aware of this. Mary Holler soon there after
    informed me fihat Justin Steinbech was writing a Code. C asked to open
     pending the writing of ₹he Cade and despifie the fiact that there were 3
    dog day cares & 3 groomers operating without a Code I was not
    ailo~ed to open.
6, Come April of 2019' there was still no Code. f was then void that Will
    Smith, the new hire as Dir. of P[annirtg, was going to wrifie the Gods.
     Soon thereafter I was informed ,one by ane {it seemed that there was a
     new one every month} by Smith of the restrictions that were going to
     be puff in place. On numerous occasions I spoke with 1NilI Smith, Ntary
     Hosler, the zoning board, the planning board &the Town Board
     members in attempts to reason wifih them regarding the numerous
     restrictions. Ail of my attempts fell on deaf ears.
 7. Finally on July 17,2019, the Code was adopted officially by the Town
     of Evans at public meeting, and far tie first time 1 heard that Vichy
     Kurek was involved ~n writing the Gode.
 8. After months of delays ,only fihen was 1 a(~owed on lug 2nd to go
     before the zoning board to be rezoned. And only after tf~e rezoning was
     approved was 1 allowed to go before the P{arming Board ~'or my
         Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 6 of 18




         Special Use Permit. Then I was in front of the Town Board on Sept.18,
         2Q~19, and was fif~en officia~Iy under fihe jurisdiction of the Code. It took
         me over 9 months to be able to open my business.
       ARGUMENT

       9. The Code as written is vague and subject to interpretation. It is a
           poorly drafted document that is Arbitrary &Capricious, Discriminatory,
           an Abuse of Discretion and in violation of both Sate and Federa{ L.aw.
           The Code was written with numerous restrictions That specifically keep
           any dog day care operation in the Town of Evans General Business
           zones from being financially feasible.
       10. The rules ofi the Code appear to apply to all dog day cares equally
           within the jurisdiction of the Town of Evans (see ex A,2a) ,but it does
           na~t. According to Town o₹ Evans Director of Planning Wil( Smith the
           rules o~F the Code do not apply to a[1 dog day care operations only the
           dog day care aperafiions in Genera[ Business (hereinafter GB).
       11. The Town of Evans interpretation of fihe Code does not apply ~o
           "Golden Paws Feet Services" ~n Derby, "Creature Comforts Pet
           Resorts" in Angola and "Jamca [pef siting & bQarding~"in Angola,
           tf~ereby al(awing the afiorementioned businesses ~o maintain a
           monopoi[zation of the relevant pet services market within the Town of
            Evans Jurisdicfiion. A clear vio[a~Eon of the Sherman Acf 15 USC
           sections 1-38.
       ~ 2. The Corte was created in part by and under the influence of Town of
            Evans Agricultural Board member Vicky [~ure(s. Vicky Kurek is a very
            vocal opponent ~o the creation of the Code and the competi~'son that it
_~          can bring to "her business", as Vicky Kurek is also the owner of Golden
~           Paws Pet Services in Derby NY, a clear Conflict of Interest. Also Jamco
            acts as an agen~/emp{oyee of the Town of Evans as they "Board" stray
 ~ ~        dogs fior the Town ofi Evans l ag Control.
  ,~   13. Vicky Kurek sits an the Town ofi Evans Agricultural Soard along side of
            Town of Evans Dir of Planning Will Smith [alleged author of the Code],
            Town of Evans Counsel man Mike Schraft (who voted to approve &
            pass the Gode}, and Tornrn of Evans Code Enforcement D'€rector ~3aneen
  Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 7 of 18




    Hill [who will enfiarce the Code]. Vicky KureK's role ar~d influence wifih
    the Town of Evans administration juxtaposed by her assisting with the
    wrifing ofi this Code is a blatant conflict of interest.
14. Furthermore, on July 17,2019, Vicky Kurek's "Golden Paws", along
    with "creature Comforts Pet Resort" Ango(a , NY and "Jamco K-9
    Training center" (pet boarding &pet sitfiing) of Angola, NY, sent Joshua
    Bust, the owner of "Happy Paws" of Derby and his employees in to
    the Town a# Evans Public Hearing to verbally appose allowing any dog
    day care ₹rom being allowed to open in the GB zone, as it is "unfair to
    their Businesses [Golden Paws,Crea~ure ComforEs & Jamco]".

~f 5. On July 17,20 9, at the Town of Evans public hearing on the Gode,
      Town Counsel woman Jeane Macko announced and read infio the
      record that Vicky Kurek of Golden Paws had sent her an e mai!
      requesting that she read into the record Vicky Kurek's opposifiion to
      a([owing dog day care in GB.
1 fi. The restrictions of the Cade make it financially unfeasible to operate a
      day care for dogs business in the GB District of the Town of Evans.
17. Specifically the Gode {ex A 3c) calls for the requirement ofi 100 square
      feet of space per dog in the building. First of all no other Town Code in
      the county has this requirement and upon information and faefief no
      other Town Code in the state has it either. Secondly the Code does not
      differentiate a 5 pound "fieacup" dog from a 180 pound Great Dane.
      Apparently according to Will Smith &the Town of Evans they believe
      they both need ₹he same amount ofi space.
 1 S. While the SPCA does "recommend" for optimal conditions 75-100
      square feet per dog, its just that a recommendation not a requirement.
      Town of Evans Director of Planning Will Smith say's this restriction is
      for the "welfare o~ the dogs" but then he a[so say's this restriction
      does not apply to Coiden Paws, Creatrare Comforts ar Jamco.
 ~ 9. I know Golden Paws uses, upon information and belief, a building of
       about 500 square feet to keep up ~0 35 dogs in for dog day care ,but
      Will Smith say's fihe Code does not apply to them. Jamco, upon
       information and befie~ has what looks like a 300-400 sq. ft. room used
   Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 8 of 18




    to house as many dogs for day care as possibie. Yet Will Smifih claims
    the Code does not apply to Jamco, Also, 1 walked into Jamco in June
    or Juty this year and as soon as f opened the door i was slapped in the
    fiace by the stench of feces and urine, yet Will Smith claims ~o be
    looking out for fihe "welfiare of the dogs".
20. N(y Special Use Permit restricts me to "11" dogs based upon my 1100
    square foofi building. In reality I can legitimately handle "up to 17" dogs
    depending an the size of the dogs". As a side note for perspective,
     National Ghain "Pet Smart" in C7rchard Park has a "400" square foot
     room and they allow "up to 17" dogs into that room far dog day care
    "depending on the sizes of the dogs". Sep (ex B) for a plc of Pet
    Smarts 40a sq. ft. room with "11"dogs in it, plenty of space. For the
     aforementioned reason this ru[e is Arbitrary &Capricious,
     Discriminatory and an Abuse of Discretion and in furtherance o~ the
     monopolization of the relevant market by the status quo.
21. The Code (3a) does not permit overnight boarding of dogs, Overnight
     boarding of dogs is a very impot~ant financial component of the dog
     day care business. Anyone with any sort of business acumen,
     especially someone in the business like Vicky Kurek knows how
      important it is to be abEe to offer dog boarding. Its irrational to think
     that consumers will leave an establishment that does day care &
      boarding for an esfiablishment that can on[y do day care. t constantly
     get ca(Is from potential clients asking if I can Board their dog along
      with the day care. Upon Information, belief and my research the
      majority of all dog day cares in Erie Counfy Genera[ Business zones
      aEso offer Boarding.
22. Since the Code allows me to have 11 dogs from Gam til 11 pm (17
      hours), there is absolutely no legitimate purpose or reason to not allow
      me to keep up to 3 dogs, inside &supervised, in my building for fihe
      remaining 7 hours [when they are sleeping]. 1 asked the Town Board to
      allow me one (1) dog overnight and they denied me. Also according to
      Will Smith Town of Evans Director of Planning this rule does not apply
      to Golden Paws, Creature Comforks or Jamco. Rendering this rule as
      Arbitrary &Capricious, Discrim'srtafiory and an Abuse of Discretion and
  Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 9 of 18




    in ~ur~herance of the monopolization of the relevant market by the
    status quo.
23. To be fegifiEmatefy competitive in any business, especially in this day
    and age, a dog day care needs to be able to offer as many services as
    possible to be competitive. To the point both Tops and BJ's are now
    also selling gas. But Vicky Kurek does not want any competition.
24. The Code (3b} does nofi permit my dogs to be outside for more than 10
    minutes. As such I cannot offer my clients fresh air for their dogs [ike
    my competitors. My original plan was to offer a huge yard for dogs to
    play in but because of the Code (3b) that's no longer an option. Dogs
    in genera! want to be outside and as a dag owner myself {would not
    take my dog to a dog day care where my dog could only go outside for
    1D minutes.
25. Furthermore, on duly 17,20 9, Town of Evans Counsel Woman Jeane
    Macko stated on the record at the Public Hearing That she wou{d nofi
    take her dog to a place where dogs could on{y be outside for ~! Q
    minutes. Even further, there are noise /nuisance rules in place as well
    as fiencing rules (3 e,f,h,i~. So this rule has na legitimate purpose or
    reason. Also, according to Town of Evans Director of Planning Will
    Smith, this rule does not apply to Golden Paws, Creature Comfior~s ar
    Jamco, making it Arbitrary &Capricious, Discriminatory and an Abuse
    of Discretion, and ire furtherance of the monopolization o~ ₹he relevant
    market by the status quo.
26. Rule (3e) has no specific definition of what anoise/nuisance actually is.
    There needs to be a specific decibel level set so it's clear as to what is
    actually "laud". And once again this rule does not apply to Go(den
    Paws, Creature ComforE or Jamco. Rendering it Arbitrary &Capricious,
    Discriminatory and an Abuse of Discretion and in furtherance of the
    monopolization of the status quo.
27. Dog Day Care businesses need to be convenient and dependable for
    the dog owners. Having fio turn away dogs because 1 already have 11
    [chihuahua's~ and still plenty of room, when a client is an his way to
    work or to an important meeting is irrational and does not make my
    business convenient &dependable.
 Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 10 of 18




28. Having to turn away a regular client that needs boarding is not
    convenient &dependable. Arid nat being ab[e to take dogs outside on
    a nice day is nat acceptable to most and i~ is irrational.
29.One restriction can be worked around but the totality of the restrictions
    in this matter are fatal. (t is nearly impossible to build a clientele when
    potenfia~ clients, are aware that my business "Mickey Dogs" has
    numerous restrictions and ~Ehat the status quo do (Gofder~ Paws,
    Creature Comforts artd Jamco) do not.
30. Will Smith cEaims that Amherst Dag Day Care Code is some sorb of a
    "mode! code" so he claims he copied it. But that's nat completely true.
    Smith copied it because it was the only local town that he could find
    that did not allow boarding. Smith has also falsely claimed that
    Amherst does not allow Dog day care in GB but they do, only it's listed
    for some reason under MS (ex.C) . AEso the Amherst code has no
    square footage restrictions but Smith did not copy that off of ₹he
    alleged "model code".
31. Fur~h~rmore, There is no rational basis for the Town of Evans to follow
    the Town of Amherst Gode. The Town of Amhersf has a population of
    aver 126,000 peopEe compared to the Town of Evans population o~ just
    over 16,00 . Neighboring towns at Hamburg, Urchard Park and West
    Seneca are also al! much larger but are much more comparable. They
     ail allow dog day care in GB, they all allow Boarding in GB and none of
    them have square footage restrictions.
32. Will Smith acting on behalf of the Town of Evans created an Arbitrary &
     Capricious Code, that is an abuse of discretion, and is in contravention
     of both state and federal law and Discriminates against any dog day
     care operating in GB, and that without a doubt would not allow any
     dog day care in GB to be financially ~easib{e. This Code was written for
     the sole benefit of deterring any competition to the current status quo.
33. Finally it should be noted that my business is a minority owned
     business and Golden Paws, Creature Comforts & Jamco are not. Also
     there are no minorities on the Town Board ,Planning Board, the Zoning
 Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 11 of 18




    Board and The Town of Evans Agricultural Board, upon informafiion
    and belief.
34. No previous application has been made for the requested relief.

WHEREFORE, pe~i₹loner respectfuEly requests that judgment be entered
pursuant to Ar~icfe 78 of the Civil Practice Law and Rules.

1. VACATING and setting aside Respondents determination of Juiy
   17,2019 to enact L.oca( Law #7 of the year 2019, as the law is Arbitrary
   & Capricious, Discriminatory and an Abuse of Discretion by the Town
   of Evans, rendering it as null and void. Vacating and setting aside the
   determination of August 18,2019 ₹o assign Local Law #7 of the year
   2019, to be binding on your petitioner as it is Arbitrary &Capricious,
   Discriminatory, an Abuse of Discretion and in furtherance of a
   monopolization of the status quo by the Town of Evans. Making the
   underlying nul[ &void.
2. DIRECTING Respondent, as it is evident they can't or won't make the
   appropriate changes to properly al{ow for competition eliminate ~3c}
   the square footage requirement or in the alternative to count any dog
   under 30 pounds as a half a dog; to eliminate the"no boarding" rule
   (3a); to eliminate the "1 D minute" rule {3b) to allow for dogs to play
   outside as long as petitioner is in compliance with noise and fence
   rules (3 e,f,h,i); and to add a specific noise level such as it must be less
   than 35 dBA at the property line, to rule (3e}.
3. ENJOINING Respondent from "Closing Down" petitioner even
   temporarily for lack of an appropriate Gode or any reasfln that can be
   considered retaliatory in nature.
4. GRANTING such other and further relief as fhe Court may deem just
    and proper.
             ~----
   ,~~           ~,r--
_--r'~
Ms    ael Argentieri, pro-se
     ~c~ ~ ~ ~'          ,2019
   Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 12 of 18




                                Proposed Local La~v ~7 of tie yeaz 2019


                          Add new subsection to §200-21B(1): Pezn-ut~ed Uses


1) Definition:

     a) DOG DAY CARE FACILI'T'Y — A cQmmercial facitily for the super~~ised coca and socializztion
        of dogs, not to include facilities that provide overnight boarding, breeding or selling ofdogs, ar
        facilities whose primary source of revenue is licensed veterinarian services.

Z} Permitted Uses:

     a) Dog Day Care Facilities shall on[y be permitted in Agriculture ~ open Space, Rura(Agriculture,
        General F3usiness Dis~ricts.

           i) All Dog Day Care Facilities shall rec{uire tha issuance of a special vse permit approval
              puzsuant to §200-45 from the Evans Town Board. The Town Board shall refer all special use
              permit applications to the Planning Board and Code Enforcement Office for review and
              recommendatiansprior to the issuanoe of site plan approval and the specia3 use permit.

3) Design Criteria:

     a) Dogs may be groomed, trained, exercised and socialized, but not boarded overnight, bred or sold.

     b} A11 activiCies related to ehe dog day care facility shall be undertaken indoors with the excepfiion of
        short-term outdoor periods for ~l~e dogs to relieve themselves.

     c} Indoor areas designed for dog supervision, training, exercising, socializing, grooming and resting
        (clot to include office, retail, reception, bathrooms} must consist of a minimum 100 sy $per dog.

     d) Dog Day Care Facilities may include an accessory use ;Eor the refail sale o€products related to tt~e
        operation ofthe facility.

     e) Dog Day Care ~'acalities shall be soundproofed to the best of the owner's abi3ity to prevent a
        noise nuisanca to surrounding properties. Any and alI noise complaints wilt be reviewed by the
        Gode En£orcementOfficerto determine if additiana( aatian is required.

     ~     The operation of the facility shaf I not allow fhe cr~atipn ofnoise icy any anima! or astimafs under
           its care which can be heard by any person at ar beyond the property line of the lot on which the
           facility is Located repeatedly over aten-minute period.

     o) The hours of operation of a Dog Day Care Facility shall begin no earlier than 6:00 AM and shall
        end no later than 11:0d PM vvitfi na dogs allowed outdoors prior to 7;00 AM or after 10:00 PM.



lac~lUwtl7Dop Day Gz 2019,dcx
Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 13 of 18




       h) Outdoor areas shall be ]orated in eitYter the rear or side yards and a minimum of 100 feet from tha
          nearest residential property line,

       i)    Outdoor areas shall be screened b}~ solid wood, vinyl or masonry fenc[ng or other visua{ barrier
             that is six (6} feet high and nat to extend into the front yard or past the front line of the building.

       j)    All animal waste must be placed in closed waste disposal containers and collected and diseased
             of by a qualifed waste disposal company ak least ~+eek]y. Waste receptacles are to be screened
             appropriately with fencing and/or landscaping from neighboring properties.

       k) The operator of the facility will be required to maintain all required Iicenses and permits.




                  Associated def~nitzon to include iri Article SSI, §200-7: Definitions


DOG DAY CARE FAC~ITY— A commercial facility for the supervised care and soeiaiization of dogs,
not to include facilities that provide overnight boarding, breeding or selling of dogs, or facilities whose
primary source of revenue is Licensed veterinarian serviczs.


Delete AISlIvIAL HOSPITAL OR VE'~ERINARLaN and replace with:


ANIMAL GROOMING, ANIMAL HOSPITAL OR VETER1NARiAN —An animal grooming facility,
animal hospital ar veterinarian is permitted. in accordance with the GB district, provided that all activity
associated with the operation shall take place within a compietefy enclosed building.




 taeal LvW B7_ooE O~y pre 7014.docz
                                       Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 14 of 18



"CJs"~~            :..Y. ~y 'yr~;~ ~..:.                                                             ^,Y`f~.


                   r~ ~...
~i            ~c~J~ ~                                                                                   .a
t.            r ~.~;.>r'.'~




x                          7..~ !Y a~                    >.:                        ~ t


                                                     y. ..     if : S




                              ..:=~ n
                              ~~'f~~        ... ....a -s.                       'y~   '~




                                  ~ ~~. .

               ~~                          r. - -                         ..                          ,~.~




    %' ~~r.='yam                                 .'c :~.~—„yy..wx~~{tf~    ~     .~.~' .~..      ~~'C; ~a
                       ~ ,j
                                                /,
                           4~y~
         k.`~~.                                 .1                  'Y`
~
,".w~~~                       y
                                   t" ,
                                           ''        r q       tr   M1~a1r._ - ~.             ,~u~~^~. »'c



..'~

~xe~i; '`'~.~;
 ~.~               R
                       ~          `~



                                                                               ~;:; ~-r
                                                                               !.; ''-




              r                                         ~~(~
                    ~~~
               Ri~r+               }~-~~`"'fi,~~ ~ ~~'~~~~




               ~y~"'b'                 ~                       +';Sj~
            Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 15 of 18




              § li-B                                      ZONING                                               § 4--6

    ~~~ r     § 4~6. Motor 5es~ice District (1VI~}
~ ~           4-6-1.   Purpas~. To provide areas wi#hin the Town for the Iocation of ~ansporfaf~ou-oriented
''•-~•~                coanmeraia~. uses designed fr, serve ~3ze needs of motorists axtd related vehicular needs.
              4~6-2.   ~z~z~xeipal and Special Uses.
                       A. Permitted Uses aad Str[icftrres.




                                                                                     s~~
                                                                      Permiaed       Uae           Standards
               OPEl~ USES                                                        I
               No o en uses allowed
               RESIDL~NT~AL US£S
               U er-st      dwetiin ur~t                                 ✓                            6-2-6
               ~TT~LIC A.I~-D CIVIC USES
               Ambula~ace servSce                                        ✓
               Minor uti~ii~es                                           ~
               Place of warsbi                                           ~                          & 6-3-3
               Public utili service str~otvre or fac' '                              ✓         ~      6-3-~
               Public woks constr~.on yard [Aa~ea                        ✓                          § 6-3-5
               12-'7-2U09 6 L.I.Q. No. 192Q(}9j
               Telecommunication fac~i                                               '~                6-7
               C~~I,tCIAL
               $us gaxages jAdded ~-~-2Q1.4 by L.L. Na.                  ✓
               ~-2oi~-)
               B~5                                                  I
               Car wash                                                  ~                 ~              6-~I-3
                og day care faci~.zty jAc~ded 10-17-20].1 by             ✓                     § 6-4-13 [Amended.
                ~. IYo. 2~-~013.j               ~                                               ].I-52Q12 ~p T,.L.
                                                                                                   I~'a. f7-2012
               Motor vehicle repair jAdderi 7.-4-2408 by L.L.            ~
               Na. 1-~(~08
               Motor vehicle was]~in establishment                       ~
               I'a5sen er tezraina~                                      ✓
               Aestaurau~ ~vi.~h drive-through [Ame~aded                 ~                           § 4-8~
               9-2~-ZU04 b~ L.L. No. Y4-20D9
               Restaurant without driva-through ox outdoor               ~
               dmi~g [Arrsended 92~.-2Q09 by I..L. Na.
                xa-2~os


                                                            203:123                                      04 - Ol - 20I6
            Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 16 of 18


                    § s-~.                                       2arr.~r~                                           § 6a.
                               (Z}    No outdoor speakers shall be pemziited.
    `   j                      {3)    ~7Jhee1. stops ox other permanen~ barriers shall be installe
                                                                                                    d #o prevent
                                      velycles from encroaching on regzurad setbacks or Landsc
                                                                                               aping.
                               (4}    Display vehicles shall be arranged in an ordezly fashio
                                                                                                 n and provide
                                      reasonable room for pedestrian and vehicular maneuvering
                                                                                               .
                               {5)    Tn the MS clistric~ such uses ~?iall xequire a~ minimum lot azea
                                                                                                       of onE-half
                                      aore.
                               (6}   In the GB district, used car sales and car recital shall be in conjun
                                                                                                           ction with
                                     na~v car sales only and shalt. be limited to less than SO percen
                                                                                                            t of tote}
                                     automtsbite inventory am the same lot as the new car sale usage.
                              (7)    In a GB district ~ that abuts aresidential -district, cax sales and
                                                                                                         service
                                     es₹ablisl~men₹s must meefi the following standards:
                                     (a}   I~aurs o~ operation are limited from 7:00 a:m. to 9:00 p.m.
                                     (b)   Ovezhead doors shall not face a residential district and doors wi]I
                                                                                                               be
                                           closed except ~oz entry and exit of ve}ucI'es.
                                     (c)   The minimum setback to paved areas shalt be 25 feet.
                        B.    TNB Overlay District
                              (Y)    No vehicle storage, display or parlflng shall be pernutted betwee
~~                                                                                                    n the
                                     principal sirac#ure and front lot Ii~e.
~                             (2)    No sexvice bay or garage doors shall face the street.
                              (3)    Display ve3uclgs shalt be arranged in an• azdezly fashio
                                                                                               n and provide
                                     reasonable zoom fax pedestrian and vehicular maneuvezing.
                  fi-4-13. Dog Day ~Care FaciLifies. A facility fox the day cane and
                                                                                         socialization of dogs is
                        permitted an accordance with the iiistra.ct use tables in art
                                                                                      4 or Part 5 subject to the
                        fallawi~g standards. [Added. 10-17-2011 by L.L. Na. 25-201
                                                                                        .1; amendecr11-5-2012
                        by L.L. No. 172012]
                       A.    Dogs may be groomed, trained, exercised and socialized, but
                                                                                         not boarded
                             overnight, bred ar sold,
                       B.    All acfitaties related to the dog day care facility shall. be undertal,.en indoor
                                                                                                                s wzth       ,\
                             the exception of short-#erm, outdoor periods for the dogs to xelieve
                                                                                                         themselves.
                             Outdoor azeas shall be located a rr~inimusn of 250 feet from the meanes
                                                                                                          t reszdenti.al
                             district boundary and stall be screened ley solid woad, vinyl
                                                                                               or masonry fencing
                             that is eight (8) ~eefi high.
                       C.    Dog day care facilities may znclude as an, accessory vse the retail sale o£prad
                                                                                                             uc~s
                             related to the operation of the facility.
                       D.    The operator of the facility ~,~rill be regiured to main#aixn all
                                                                                               required Licenses and
                             pezmits.


                                                               203:237                                      os - ai - aozs
        Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 17 of 18
                                                                                                                           r

                                                                                                                           f
      § 6-4                                   ~MFiERST CODE                                       § 6-b
              E. ~ All animal waste must be placed in, closed waste disposal containers and collected
                   and disposed ofi' by a qualified vva.ste disposal company at Teas₹ weakFy. ~               {:~
;'~           F,    A buiJ.cting for a dog day care facility shall be soundproofed #o maintain a noise
                    level thaf is less than 3S dBS as m,easvxed at the property linE or common wall if
                    within amulti-tenant bt~iding.
              Cx.   Ths hours of operation of a dog day care facility sha71 begin uo earlier than. 6:00
                    AM and shall. end no Icier than. 9:00 pm.


      § 6-5. Industrial Use Standards
      6-5-I.. Rssearcb. and Development Uses. Reszaroh and development uses listed in the
             district tables in Part 4 shall be pez~mii~ed. provided that no such use sha11 occupy more
             khan IS pezcent of fhe grass floor area of the occupant space within v~rhich it is located
             and no suclx use shall exceed 2 ,000 square feet pf the amass floor area of the building.


      § 6-5. Standards far Se~ual~y Orienied Businesses [Added 7-7-2008 by L,L.1\'o. 9-2008]
      5-6-1. Pr~rpose. rAmended 2-22-201.9 by L.L. Igo. 7.-2U19]
              A.    Concturently with a major revision #o this Zgning Ordanaace, the Town. of
                    Amherst zetained sic Damian KeIly, Ph.D., FAICP, and Connze B. Cooper,
                    FAICP, working undez Duncan. Associates, to study the issues related to sexua]Iy
                    aziented businesses in the Town and in the surrounding region. In a report
                    entitled "Findings and Recommendations, Sexually' oriented Entertainment and
                    Rely#eti Businesses," dated August 2005, Kelly and Cooper s~7mmari7ed studies              1
                    tom ofher coznmurti~es, including several iu New York State, documenting ₹ha
                    n~gativa secondary efrects that sexually oriented businesses mnay have on property
                    values and the negative effects that such businesses may have on the commtmity
                    through inczeases in. czime around them. As part of ₹heir work, Cooper and Kelly
                    provided to the Town copies of major studies from other camm~aties, which
                    1~ave also been made available fo the Town Board Based on Kelly and Cooper's
                    xeport and on these other studies, the Tov,+n Boazd has made specific fzudings
                    xegardin; such secondary effects and has concluded that the regulations contained
                    in #his Azticle provide an appxapziate and nazxowly tailored approach #~ limzting
                    the negative secandaxy effects o£ such businesses while allowzug the types of
                    communication: protected "by ~e Tirst .Ameaaciznent to occur in Amhers~, lipaited
                    on1~ by appropriate z~gnlations an the p3.ace and context of such cammuriicatians.
              B.    ate C~nstiiutiort and laws of the State of New York ~ ant fifl the Town of
                    Amberst pav~~ers, especially patice power, to ez~ct reasonable Iegislation anal
                    meast:res to regulate and supervise sea~zally orisz~ted entertainment establishments
                    iz~ order to profi.~c~ tS~e pudic health, safety and welfaze.
              C.    It is not the intent of fihe Tovm of Amhersfi in enacting this Ordinance to deny fio
                    any person xights to speech protected by the United States an.d/or State
                    Cans~itufiions, nor is it the intent of the Town of Am~ie~rst to impose any
                    addztionai limitations or resections o~. the cantants of a~ay communica#ive
                    materials, izzcluding sexually ozzented films, video tapes, books and/oz other            ~ ;'
                                                                                                                 ti
                                                    203:23 8                                 95 - Of - 2019           ~J
                                                                                                                      ~.
                                                                               d


                                                 f
                                                                           s                      ~~~~ ~~~u ~~fl~ ~~~~ ~~~~
                j ~+         ~                                         r                 3'd.~~Rx~9~3~~~r 1iy ti(1~~~:,_c~vr
                                                                                        I tt' ~1,t                                     •: `:r ~l ~ ~ X43             3
                             .~~               ~,p.~        ~,r''~   J z                                                          ' r.wtt
                                                                                                    ~ , of Fli t „s !d t~ ~ty t t ~~~~j
                                                                                                                                 `;r;    i: ~~ t ~;~r, . m   .   1
                                           /




               ~.           ~~                                                       ,
                                 ~~             ~
                       ;:                  ,,~ ~       ~.C~                         (           ~Q3,b ~2~7~ IIpq~ ?378 457


  ,'.. •: '
  ..,}~~`


    z
i2~' .
  :~'t; , ~.
   ..s'°z, .
                                                                                                                                                                         Case 1:20-cv-00806-LJV Document 15-6 Filed 09/22/22 Page 18 of 18




                                   ~if~R1?fti~'i~rii,~:   'I.i~ rlt~i;i            ~ :~rr~      1 ~,1..
